              Case 19-10449-amc                         Doc 13-1 Filed 02/08/19 Entered 02/08/19 13:35:52                       Desc
                                                          Certificate of Service Page 1 of 1

                                                               United States Bankruptcy Court
                                                                     Eastern District of Pennsylvania
 In re      Curtis E Rider, Jr.                                                                           Case No.   19-10449
                                                                                   Debtor(s)              Chapter    13



                                                                     CERTIFICATE OF SERVICE
I hereby certify that on February 8, 2019, a copy of Notice of Continue 341 was served electronically or by regular
United States mail to all interested parties, the Trustee and all creditors listed below.

 American Airlines FCU
 Capital One
 Capital One Auto Finance c/o AIS Portfolio Srvc
 Credit One Bank
 Credit Protection Association
 Dept of Ed / Navient
 ERC/Enhanced Recovery Corp
 Fingerhut
 Navient
 Rogers Acceptance Corp
 Target



                                                                                 /s/ Brad J. Sadek, Esquire
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